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Attorneys for Debtor(s)


                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

In Re:                                                  Case No.: 18-43088-MXM-11

DR. SHABNAM QASIM MD PA                                 CHAPTER 11

         Debtor(s)

         APPLICATION TO APPROVE EMPLOYMENT OF ACCOUNTANT FOR
                          DEBTOR IN POSSESSION

NO HEARING WILL BE CONDUCTED UNLESS A RESPONSE IS FILED WITH THE
CLERK OF THE U.S. BANKRUPTCY COURT AT 501 W. TENTH STREET, FORT
WORTH, TX 76102-3643 BEFORE CLOSE OF BUSINESS ON OCTOBER 12, 2018
WHICH IS AT LEAST TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE. IF
NO HEARING ON SUCH NOTICE OR MOTION INITIATING A CONTESTED
MATTER IS TIMELY REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED
TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING THE
RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.



TO THE HONORABLE MARK X. MULLIN, U.S. BANKRUPTCY JUDGE:

         The application of DR. SHABNAM QASIM MD PA, ("Applicant"), respectfully
represents:
                                                   I.

         On 8/7/2018, Applicant filed a Petition under Chapter 11 of the Bankruptcy Code.




         The Debtor asserts that it is necessary to retain an accountant in the administration of this
estate for the following specified purposes:
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               A.      Preparation of income tax returns
                       Preparation of F.I.C.A. and withholding tax returns;
               C.      To Provide adequate control over the revenue from the operation of the
                       professional association; and
               D.      Prepare Operating Reports




       The Debtor desires that it be authorized to employ James R. Halter, CPA, 17055 Windward
Lane, Addison, Texas 75001 for such compensation and reimbursement of expenses as is just.
Said accountant is experienced and qualified to render the professional services described herein.
                                                IV.
       The accountant to the Debtor's knowledge, James R. Halter, CPA is a disinterested party in
all material respects. The Debtor believes that the employment of such an accountant would be in
the best interest of the estate. Attached hereto as Exhibit "A" is the Affidavit of James R. Halter
concerning the qualifications and disinterestedness of his firm.


       WHEREFORE PREMISES CONSIDERED, the Debtor respectfully prays that it be
authorized to employ James R. Halter, CPA, as accountant for the Debtor in this proceeding for
such compensation and reimbursement of expenses that is just; and that James R. Halter, CPA be
reimbursed and compensated for his services upon proper motion submitted to this Court.
                                      Respectfully submitted,

                                      /s/ Craig D. Davis
                                      RONALD W. ROBERTS
                                      State Bar No. 17018600
                                      CRAIG D. DAVIS
                                      State Bar No. 00793588
                                      JEFFREY W. ERMIS
                                      State Bar No. 24032159
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                                      Attorneys for the Debtor
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served on the
date the instrument was filed electronically. Service was accomplished via ECF and/or First
Class Mail to the parties indicated on the mailing matrix filed with the Court.




                                      /s/  Craig D. Davis
                                      RONALD W. ROBERTS
                                      CRAIG D. DAVIS
                                      JEFFREY W. ERMIS
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                      IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

IN RE:                                                   CASE NO. 18-43088-MXM-11

DR. SHABNAM QASIM MD PA

                DEBTOR                                   CHAPTER 11


STATE OF TEXAS
COUNTY OF TARRANT

                         AFFIDAVIT OF PROPOSED ACCOUNTANT


        BEFORE ME, the undersigned authority, on this day personally appeared James R. Halter,
a Certified Public Accountant, Addison, Texas, who upon being duly sworn upon oath, deposed
and stated:

         1.      That he is a resident of 46,4i.St                , Py\,4 -C        County, Texas;
that he is over the age of 21 years and is of sound mind and has never been convicted of an offense;
that he is a Certified Public Accountant practicing in Dallas, County, Texas and possesses all of the
qualifications of a Certified Public Accountant in the State of Texas.

        2.     That he has read the Application by the Debtor for approval to employ James R.
Halter as accountant in this Chapter 11 bankruptcy proceeding. That James R. Halter, CPA is an
accountant admitted to practice with extensive knowledge and experience in bankruptcy practice,
and James R. Halter, CPA is in all respects qualified to render the necessary accounting services in
this case.

        3.       That James R. Halter, CPA is disinterested and has no connections with the Debtor,
creditors of this estate, or any party of the U. S. Trustee's office, or any party in interest which have
interests adverse to the bankruptcy estate.
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        4.      That James R. Halter, CPA has performed accounting services for the Debtor prior
to the filing-of-its-Chapter 11 Bankruptcy. James R. Halter, CPA waives all claims that he has
against the Debtor for the pre-petition services.

                                            FURTHER AFFIANT SAYETH NOT.




                                                  „
       SIGNED AND SWORN TO before me on this this "Lip          day of




        -44g
           #
                    LESLIE A FERRONI
                  My COmmission Expires
                                              T RY PUBLIC
                                                                    da4,74,:
                      June 23, 2019

   rermispissmoviiinemeemergerrimpmpiqb     My ommission Expires: -J (Lae
